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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

 UNITED STATES OF AMERICA,                         )
                                                   )
                Plaintiff,                         )
                                                   )
        v.                                         )
                                                            Case No. 4:15CR404 HEA/NAB
                                                   )
 MICHAEL GRADY (29) and                            )
 OSCAR DLILON, III (30),                           )
                                                   )
                Defendants.                        )

                      ORDER CONCERNING PRETRIAL MOTIONS

       All pretrial matters in this cause have been referred to the undersigned pursuant to 28

U.S.C. §636(b). Defendants were charged in the Fifth Superseding Indictment on December 20,

2018 and pled not guilty on February 7, 2019 before the undersigned. The undersigned previously

granted the Government’s Motion for Complex Case Finding and to Continue Trial Date Beyond

Limits Set by the Speedy Trial Act. [Doc. #765.] At Defendants’ arraignments, counsel for

Defendants had no objection to this matter continuing to be deemed complex.

       Speedy Trial Finding: For the reasons set out in the Government’s motion and on the

record at Defendants’ arraignments, the Court finds that the case continues to be a “complex case”

as defined in Title 18, United States Code, Section 3161(h)(7)(B)(ii). In addition, pursuant to 18

U.S.C. § 3161(h)(7)(A) and (B)(i), the trial of this matter should be continued past the limits set

by the Speedy Trial Act because the ends of justice served by continuing this case outweigh the

best interest of the public and the defendants in a speedy trial, the case is so unusual and complex

that it is unreasonable to expect adequate preparation for pretrial proceedings, and the failure to

exclude this period would likely result in a miscarriage of justice.
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       IT IS FURTHER ORDERED that forthwith the government shall give notice to the

Defendant of its intention to use specific evidence at trial pursuant to Rule 12(b)(4), Federal Rules

of Criminal Procedure.

       IT IS FURTHER ORDERED that no later than February 22, 2019 each party may

propound to the opposing party, and may file with the court, any request for pretrial disclosure of

evidence or information. Not later than March 1, 2019, the parties shall respond to any such

requests for pretrial disclosure of evidence or information and may file with the court a copy of

any such response. To avoid proliferation of documents, to the extent practicable, all such requests

for disclosure and the responses thereto shall be contained in one request document or in one

response document, with each separate item of information or evidence discussed being a subpart

of said document.

       IT IS FURTHER ORDERED that no later than April 5, 2019 the parties shall file any

relevant supplemental or amended pretrial motion(s) and the parties shall respond to Defendant’s

previously-filed pretrial motions and/or any additional motions no later than April 12, 2019. If

any party requests an extension of time in which to file pretrial motions, the request must be made

in the form of a written motion, and should indicate the party’s intention to file pretrial motions

and, to the extent possible, those motions which are intended to be filed.

       IT IS FURTHER ORDERED that if a defendant determines that it is not necessary to file

pretrial motions, the defendant must file with the court by April 5, 2019, a Notice stating that there

are no issues the defendant wishes to raise by way of pretrial motion; that counsel has personally

discussed this matter with the defendant; and that the defendant agrees and concurs in the decision

not to raise any issues by way of pretrial motions. If such a Notice is filed, the defendant’s case




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will no longer be referred to the undersigned and will proceed before the trial judge for

disposition.

       IT IS FURTHER ORDERED that any pretrial motion seeking a court order for the

production of evidence or information from the opposing party, and each motion to suppress

evidence, shall contain a statement of counsel that movant's counsel has personally conferred with

counsel for the opposing party about the issue(s) raised in the motion(s), that there is a good faith

belief that the information or evidence exists about which discovery is sought or which the

defendant seeks to have suppressed, and (for motions for disclosure) that the disclosure of said

information or evidence has been refused by the opposing party.

       IT IS FURTHER ORDERED that any motion to suppress shall set forth, with

particularity, the item(s) of evidence to which the motion is addressed, and shall set forth specific

factual details to support any claim that such evidence was unlawfully obtained. Any motion to

suppress not containing such specific information or any motion cast in conclusory or

conjectural terms will not be heard or considered by the court. Each motion to suppress must

be accompanied by a memorandum of law setting forth the specific legal ground upon which it is

contended that any such item of evidence was unlawfully obtained, with citations to authority.

       IT IS FURTHER ORDERED that all deadlines set forth in this order include weekend

days and holidays. However, if a due date falls on a weekend or holiday, the due date for

compliance shall be the next work day.

       IT IS FURTHER ORDERED that no extension of time of any deadline set in this order

will be granted except upon written motion, made before the expiration of the deadline, and upon

good cause shown.




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       IT IS FURTHER ORDERED that an evidentiary hearing on the pretrial motions will be

set at a later date. Unless otherwise ordered, each defendant is required to be present at the

evidentiary hearing on said defendant’s motion(s). If said defendant is not present at the hearing,

the hearing may go forward in the defendant’s absence. If the defendant fails to file pretrial

motions or a notice of intent not to file pretrial motions, the Court will set the matter for a

hearing.

       IT IS FURTHER ORDERED that the date for the jury trial of this action shall be set

upon the conclusion of the pretrial motion proceedings.

       IT IS FINALLY ORDERED that a Status Conference is set on Tuesday, March 5, 2019

at 9:30 AM before the undersigned. Only counsel is required to attend.




                                                 NANNETTE A. BAKER
                                                 UNITED STATES MAGISTRATE JUDGE

Dated this 11th day of February, 2019




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